                                                  Notice Recipients
District/Off: 0209−2                       User: saetta                        Date Created: 4/3/2018
Case: 2−18−20169−PRW                       Form ID: pdforder                   Total: 5


Recipients of Notice of Electronic Filing:
aty         Mike Krueger          mjk@dibblelaw.com
                                                                                                        TOTAL: 1

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Gates Community Chapel of Rochester, Inc.         PO Box 24    Lakemont, NY 14857
pr          Fletcher A. Brothers       PO Box 24        Lakemont, NY 14857
br          Galvin Realty Group, Inc.      339 East Ave., Suite 400     Rochester, NY 14604
smg         Office of the U.S. Trustee     100 State Street, Room 6090     Rochester, NY 14614
                                                                                                        TOTAL: 4




      Case 2-18-20169-PRW Doc 44-1 Filed 04/03/18 Entered 04/03/18 11:17:53                                 Desc
                   PDFattach-Orders/Jdgmts: Notice Recipients Page 1 of 1
